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                                Hearing Date: September 1, 2022 at 2:00 p.m., prevailing Eastern Time
                              Objection Deadline: August 25, 2022 at 4:00 p.m., prevailing Eastern Time


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    REVLON, INC., et al.,1                                          )    Case No. 22-10760 (DSJ)
                                                                    )
                                       Debtors.                     )    (Jointly Administered)
                                                                    )

            REVISED NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN
        ORDER APPROVING THE DEBTORS’ KEY EMPLOYEE INCENTIVE PLAN

       PLEASE TAKE NOTICE that on August 11, 2022, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion For Entry Of An
Order Approving The Debtors’ Key Employee Incentive Plan (the “KEIP Motion”).

       PLEASE TAKE FURTHER NOTICE that on August 11, 2022, the Debtors filed the
Notice Of Debtors’ Motion For Entry Of An Order Approving The Debtors’ Key Employee
Incentive Plan, which listed certain hearing and objection deadlines that have been reset or
extended as set forth in this notice.

      PLEASE TAKE FURTHER NOTICE that the hearing on the KEIP Motion will be held
September 1, 2022, at 2:00 p.m., prevailing Eastern Time.



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      The last four digits of Debtor Revlon, Inc.’s tax identification number are 2955. Due to the large number of
      debtor entities in these Chapter 11 Cases, for which the Court has granted joint administration, a complete list of
      the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/Revlon. The location of the Debtors’ service address for purposes of these Chapter 11
      Cases is: One New York Plaza, New York, NY 10004.
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         PLEASE TAKE FURTHER NOTICE that in accordance with General Order M-543
dated March 20, 2020, the Hearing will be conducted via Zoom videoconference. Parties wishing
to appear at the Hearing, whether in a “live” or “listen only” capacity, must make an electronic
appearance through the “eCourtAppearances” tab on the Court’s website
(https://www.nysb.uscourts.gov/content/judge-david-s-jones) no later than 4:00 p.m. on the
business day before the Hearing (the “Appearance Deadline”). Following the Appearance
Deadline, the Court will circulate by email the Zoom link to the Hearing to those parties who have
made an electronic appearance. Parties wishing to appear at the Hearing must submit an electronic
appearance through the Court’s website by the Appearance Deadline and not by emailing or
otherwise contacting the Court. Additional information regarding the Court’s Zoom and hearing
procedures can be found on the Court’s website.

        PLEASE TAKE FURTHER NOTICE that any responses or objections
(each an “Objection”) to the relief requested in the KEIP Motion shall: (a) conform to the Federal
Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the Southern District of New
York, and all General Orders applicable to chapter 11 cases in the United States Bankruptcy Court
for the Southern District of New York; and (b) be served so as to be actually received by
August 25, 2022, at 4:00 p.m., prevailing Eastern Time in a manner consistent with the Revised
Order (A) Establishing Certain Notice, Case Management, and Administrative Procedures and
(B) Granting Related Relief [Docket No. 279] and the procedures set forth therein as Exhibit 1 (the
“Case Management Procedures”), including, but not limited to, by serving any Objection on the
parties listed in paragraphs 22 and 34 of the Case Management Procedures.

       PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served
with respect to the KEIP Motion, the Debtors may, on or after the Objection Deadline, submit to
the Bankruptcy Court an order substantially in the form of the proposed order annexed to the KEIP
Motion, which order may be entered with no further notice or opportunity to be heard.

        PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned
thereafter from time to time without further notice other than an announcement of the adjourned
date or dates at the Hearing. The Debtors will file an agenda before the Hearing, which may
modify or supplement the KEIP Motion to be heard at the Hearing.

       PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
read the KEIP Motion carefully and discuss it with your attorney, if you have one. If you do
not have an attorney, you may wish to consult with one.

        PLEASE TAKE FURTHER NOTICE that copies of the KEIP Motion can be viewed
and/or obtained by: (i) accessing the Court’s website at www.nysb.uscourts.gov, or (ii) from the
Debtors’ notice and claims agent, Kroll, at https://cases.ra.kroll.com/revlon/ or by calling (855)
631-5341 (toll free) for U.S. and Canada-based parties or +1 (646) 795-6968 for international
parties. Note that a PACER password is needed to access documents on the Court’s website.

                          [Remainder of page intentionally left blank.]




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New York, New York                    /s/ Robert A. Britton
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